                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE


In re:

LRGHEALTHCARE,                                        Chapter 11
                                                      Bk. No. 20-10892-MAF
                                Debtor.


                 DECLARATION OF HONOR S. HEATH IN SUPPORT
              OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
        APPLICATIONS TO RETAIN AND EMPLOY SILLS CUMMIS & GROSS P.C.
                          AND DRUMMOND WOODSUM

          Honor S. Heath makes this declaration (the “Declaration”) pursuant to 28 U.S.C. § 1746

in support of the applications of the Official Committee of Unsecured Creditors (the

“Committee”) to retain and employ (A) Sills Cummis & Gross P.C. (“Sills”) as co-counsel

effective as of October 23, 2020 [D.E. 202] and (B) Drummond Woodsum (“Drummond,” and

together with Sills, the “Attorneys”) as co-counsel effective as of October 26, 2020 [D.E. 203]

(together, the “Applications”), and states and declares as follows:

          1.     I am senior counsel for Public Service Company of New Hampshire d/b/a

Eversource Energy (“Eversource”), the duly-appointed chair of Committee in this chapter 11

case.

          2.     Unless otherwise stated in this Declaration, I have personal knowledge of the

facts set forth herein.

          3.     I submit this Declaration pursuant to section (D)(2) of the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the

“U.S. Trustee Guidelines”), which requests a verified statement addressing the following issues




7605551
in connection with an application for employment filed under section 1103 of the Bankruptcy

Code:

               a.     The identity and position of the person making the verification. The
                      person ordinarily should be the general counsel of the debtor or another
                      officer responsible for supervising outside counsel and monitoring and
                      controlling legal costs.

               b.     The steps taken by the client to ensure that the applicant’s billing rates and
                      material terms for the engagement are comparable to the applicant’s
                      billing rates and terms for other non-bankruptcy engagements and to the
                      billing rates and terms of other comparably skilled professionals.

               c.     The number of firms the client interviewed.

               d.     If the billing rates are not comparable to the applicant’s billing rates for
                      other non-bankruptcy engagements and to the billing rates of other
                      comparably skilled professionals, the circumstances warranting the
                      retention of that firm.

               e.     The procedures the client has established to supervise the applicant’s fees
                      and expenses and to manage costs. If the procedures for the budgeting,
                      review and approval of fees and expenses differ from those the client
                      regularly employs in non-bankruptcy cases to supervise outside counsel,
                      explain how and why. In addition, describe any efforts to negotiate rates,
                      including rates for routine matters, or in the alternative to delegate such
                      matters to less expensive counsel.

               f.     The client verification should be appropriately detailed and should not be
                      a routine form prepared by the client’s bankruptcy counsel.

          4.   As the designated representative of Eversource, I was directly involved in the

Committee’s decision to retain the Attorneys in this case and participated in the negotiation of

the Attorneys’ respective terms of employment.

          5.   Upon its formation, the Committee (a) interviewed three (3) firms seeking to

provide their services as lead counsel for the Committee before selecting Sills and (b)

interviewed or otherwise considered three (3) firms seeking to provide their services as co-

counsel before selecting Drummond.




                                                 2
7605551
          6.       The Committee selected the Attorneys in this case after careful deliberation based

on, among other things, their significant experience representing creditors in complex

bankruptcy cases, including as committee counsel or otherwise in numerous healthcare-related

cases in the region and throughout the country; their preparation for this case; and their proposed

rate structures.

          7.       The Committee has been advised by the Attorneys that the billing rates and

material terms of their respective engagements are comparable to their billing rates and terms for

other non-bankruptcy engagements. Specifically, the Committee has been advised by the

Attorneys that the billing rates of their respective timekeepers in this case are within the range of,

and comparable to the rates of, their timekeepers in non-bankruptcy engagements based on such

factors as title, experience, and expertise, and are not determined based on whether an

engagement is bankruptcy-related or not. Moreover, Sills has offered the Committee a discount

from their standard rates in this case, as set forth in the declaration submitted in support of its

Application.

          8.       The Committee has also been advised by the Attorneys that, while taking into

account the unique circumstances presented by the representation of official committees in large

chapter 11 cases, the material terms of their respective engagements are comparable to the terms

of their non-bankruptcy engagements.

          9.       The Committee has further been advised by the Attorneys that the billing rates

and material terms of their respective engagements are comparable to those of comparably

skilled professionals. This appears to be consistent with the information provided by the other

candidates for Committee counsel, and the information set forth in the retention application for

the Debtor’s proposed counsel.



                                                    3
7605551
          10.   The Committee will supervise the fees and expenses incurred by the Attorneys in

this case to manage the Committee’s costs by, among other things, reviewing all invoices and

applications for payment of fees and reimbursement of expenses. If the Committee objects to

any fees or expenses requested, the Committee will attempt to resolve the objection with the

applicable Attorneys consensually. The Attorneys have advised that, if the Committee and the

applicable Attorneys are unable to resolve any such issues with respect to any application for

payment of fees and reimbursement of expenses, the applicable Attorneys will file a notice of

objection to the application while reserving all rights to contest the objection. The Committee

reserves the right to retain conflicts counsel to prosecute any such objection to any application

for payment of fees and reimbursement of expenses if the objection cannot be resolved by the

Committee and the applicable Attorneys consensually.

          11.   In addition, the Committee has been advised that the Attorneys will work closely

with one another to prevent unnecessary or inefficient duplication of services, and that the

Attorneys will utilize their respective skills and experience and take all necessary and

appropriate steps to avoid any such duplication.

          12.   Nothing in this declaration is intended to impair (a) the Attorneys’ right to request

allowance and payment of fees and expenses under the applicable provisions of title 11 of the

United States Code, the Federal Rules of Bankruptcy Procedure, or the Local Rules of the United

States Bankruptcy Court for the District of New Hampshire, or (b) the Attorneys’ right to defend

any objection raised with respect to such allowance and payment.




                                                   4
7605551
          13.     For the foregoing reasons, I believe that the Attorneys are eligible for retention

and employment by the Committee in this cases, and that such employment is in the best interest

of the estates.


Dated: November 13, 2020                                /s/ Honor S. Heath
                                                        Honor S. Heath, Esq.




                                                    5
7605551
